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UNITED STA TES DISTRICT COURT t ~~ ~ f

WESTERN DISTRICT ()F TENNESSEE 955 iii QPH az 13

 

 

WESTERN DIVISION
JOHN FELIZ GREER, .IUDGMENT IN A CIVIL CASE
Plaintiff,
v.
_I. PATTEN BROWN, III, CASE NO: 04-2839-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal
entered on May 11, 2005, this cause is hereby dismissed.

AP ROVED:

M@w

(NIEL BREEN \
El) sTATES I)ISTRICT CoURT

SLH£ soBERT R. 01 mann
Date Clerk of Court

(By) Yputy Clerk

Tbis document entered on the docket Sheei in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02839 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

John FeliX Greer

WEST TENNESSEE DETENTION FACILITY
P.O. Box 509

Mason7 TN 38049

Honorable J. Breen
US DISTRICT COURT

